                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:14-cv-67-FDW
                                (3:07-cr-61-FDW-11)

MATRAI DAVIS,                       )
                                    )
                  Petitioner,       )
                                    )
vs.                                 )                         ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Respondent.       )
___________________________________ )


       THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside or

Correct Sentence under 28 U.S.C. § 2255, (Doc. No. 1), and on the Government’s Motion to

Dismiss, (Doc. No. 4). Petitioner moves this Court to vacate his conviction on the basis of the

Fourth Circuit’s en banc decision in United States v. Simmons, 649 F.3d 237 (4th Cir. 2011).

Because Petitioner’s motion is untimely and because Petitioner waived the right in his plea

agreement to bring his current claim, the Court will dismiss the motion to vacate.

       I.      BACKGROUND

       On April 24, 2007, in a superseding indictment, the grand jury for the Western District of

North Carolina charged Petitioner and nineteen co-defendants with conspiracy to possess with

intent to distribute at least fifty grams of crack cocaine, at least 500 grams of powder cocaine,

marijuana, and ecstasy, in violation of 21 U.S.C. §§ 841(b)(1)(A) and 846. (Criminal Case No.

3:07-cr-61, Doc. No. 140 at 3-4: Superseding Indictment). Petitioner was also charged

individually with possession with intent to distribute at least five grams of crack cocaine and

aiding and abetting the same, in violation of 21 U.S.C. § 841(b)(1)(B) and 18 U.S.C. § 2;


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possession of a firearm by a convicted felon and aiding and abetting the same, in violation of 18

U.S.C. §§ 922(g)(1) and 2; and possession with intent to distribute marijuana and aiding and

abetting the same, in violation of 21 U.S.C. § 841(b)(1)(D) and 18 U.S.C. § 2. (Id. at 16; 30).

       On March 29, 2007, the Government filed a notice of intent to seek an enhanced

sentence, pursuant to 21 U.S.C. § 851, based on Petitioner’s prior convictions for a series of drug

offenses. (Id., Doc. No. 24 at 3: Information). Petitioner entered into a plea agreement in which

he admitted that he was a drug associate of the Hidden Valley Kings street gang and agreed to

plead guilty to the drug conspiracy charge. (Id., Doc. No. 205: Plea Agreement). In exchange,

the Government agreed to dismiss the remaining counts. (Id. at 1). As part of the agreement,

Petitioner waived his right to challenge his conviction and sentence in a direct appeal or

collateral attack, with the exception of claims of ineffective assistance of counsel or prosecutorial

misconduct. (Id. at 5).

       Consistent with his plea agreement, on November 8, 1007, Petitioner pled guilty before a

federal magistrate judge in a hearing conducted pursuant to Rule 11 of the Federal Rules of

Criminal Procedure. (Id., Doc. No. 234: Entry & Acceptance of Guilty Plea). Petitioner

admitted, under oath, that he was, in fact, guilty of the drug conspiracy offense and affirmed that

he understood he was expressly waiving the right to challenge his conviction and sentence in a

post-conviction proceeding. (Id. at 3-4). At the conclusion of the hearing, the magistrate judge

found that Petitioner’s plea was knowingly and voluntarily made and accepted it. (Id. at 5).

       In preparation for sentencing, the probation officer prepared a presentence investigation

report, calculating an advisory guidelines range of 262 to 327 months in prison, based on a total




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offense level of 34 and a criminal history category of VI. 1 (Id., Doc. No. 324 at 28-29: PSR). In

calculating the guidelines range, the probation officer determined that Petitioner qualified as a

career offender under U.S.S.G. § 4B1.1, in part, based on Petitioner’s prior convictions for two

or more felony crimes of violence or controlled substance offenses.2 (Id. at 10). Specifically,

Petitioner had North Carolina state convictions in 1999, 2003, and 2004 for possession with

intent to sell or deliver cocaine, in 2000 for accessory after the fact to robbery with a dangerous

weapon, and in 2004 for conspiracy to sell cocaine. (Id. at 10). The probation officer further

determined that because Petitioner was subject to a mandatory minimum statutory sentence of

life imprisonment, the guideline term of imprisonment was life imprisonment. (Id. at 28).

Before sentencing, the Government moved to amend the § 851 notice to remove all but one of

the prior felony drug offense convictions, resulting in a statutory range of 240 months to life in

prison. (Id., Doc. No. 368: Sealed Motion). This Court ultimately sentenced Petitioner at the

middle of the guidelines range to 310 months in prison, entering judgment on January 5, 2009.

(Id., Doc. No. 394: Judgment).

       Petitioner did not appeal but, instead, placed the instant motion to vacate in the prison

mailing system on February 3, 2014, and the motion to vacate was stamp-filed in this Court on

February 10, 2014. In the motion, Petitioner contends that the predicate offenses used to trigger



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   Even without the career-offender enhancement, Petitioner qualified for a criminal history
category of VI, having accumulated a total of 19 criminal history points. (Id., Doc. No. 324 at
19: PSR).
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   Under U.S.S.G. § 4B1.1, a defendant is a career offender if “(1) the defendant was at least
eighteen years old at the time the defendant committed the instant offense of conviction; (2) the
instant offense of conviction is a felony that is either a crime of violence or a controlled
substance offense; and (3) the defendant has at least two prior felony convictions of either a
crime of violence or a controlled substance offense.”


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his career-offender sentence no longer constitute felony convictions in light of Miller v. United

States, 735 F.3d 141 (4th Cir. 2013), and, presumably, its predecessor, United States v.

Simmons, 649 F.3d 237 (4th Cir. 2011). On June 24, 2014, this Court entered an order requiring

the Government to respond. In its motion to dismiss filed on August 27, 2014, the Government

moved to dismiss Petitioner’s motion, contending that his claim is without merit because, even

after Simmons, Petitioner still had at least two prior convictions that qualified him for career

offender status. In an order dated October 9, 2014, this Court directed the Government to

provide a supplemental brief addressing the timeliness of Petitioner’s motion, as well as the issue

of whether Petitioner’s prior conviction for accessory after the fact to armed robbery qualifies as

a crime of violence for purposes of the career-offender enhancement.3 The Government filed its

supplemental brief on October 20, 2014. In the supplemental brief, the Government contends

that the petition is time-barred and, in any event, Petitioner waived the right in his plea

agreement to bring his current claim.

       II.     STANDARD OF REVIEW

       Rule 4(b) of the Rules Governing Section 2255 Proceedings provides that courts are to

promptly examine motions to vacate, along with “any attached exhibits and the record of prior

proceedings . . .” in order to determine whether the petitioner is entitled to any relief on the

claims set forth therein. After examining the record in this matter and the parties’ briefs on

Respondent’s motion to dismiss, the Court finds that the motion to vacate can be resolved

without an evidentiary hearing based on the record and governing case law. See Raines v.

United States, 423 F.2d 526, 529 (4th Cir. 1970).

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  The Court requested further briefing from the Government because it appears that if
Petitioner’s accessory after the fact conviction does not qualify as a crime of violence, then
Petitioner did not have two qualifying prior convictions for purposes of the career offender
designation.
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        III.      DISCUSSION

        On April 24, 1996, Congress enacted the Antiterrorism and Effective Death Penalty Act

(the “AEDPA”). Among other things, the AEDPA amended 28 U.S.C. § 2255 to include a one-

year limitations period for the filing of a motion to vacate. The limitation period runs from the

latest of,

        (1) the date on which the judgment of conviction becomes final;

        (2) the date on which the impediment to making a motion created by governmental action
            in violation of the Constitution or laws of the United States is removed, if the movant
            was prevented from making a motion by such governmental action;

        (3) the date on which the right asserted was initially recognized by the Supreme Court, if
            that right has been newly recognized by the Supreme Court and made retroactively
            applicable to cases on collateral review; or

        (4) the date on which the facts supporting the claim or claims presented could have been

               discovered through the exercise of due diligence.

28 U.S.C. § 2255(f)(1)(4).

        Here, Petitioner’s judgment became final when his time for filing a notice of appeal

expired ten days after this Court entered judgment on January 5, 2009. FED. R. APP. P. 4 (2009).

Petitioner’s motion, filed more than five years later, is untimely under the one-year statute of

limitations. Furthermore, none of the other subsections under § 2255(f) applies to render the

petition timely. In sum, Petitioner’s motion to vacate is time-barred.

        The Court further finds that Petitioner is not entitled to equitable tolling. To be entitled

to equitable tolling, a petitioner must show (1) that he has diligently pursued his rights, and (2)

that some extraordinary circumstance prevented the timely filing. Holland v. Florida, 130 S. Ct.

2549, 2562 (2010). Equitable tolling of the § 2255(f) limitations period is only available in “rare

instances where—due to circumstances external to the party’s own conduct—it would be

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unconscionable to enforce the limitation period against the party and gross injustice would

result.” United States v. Sosa, 364 F.3d 507, 512 (4th Cir. 2004). In Whiteside v. United States,

the Fourth Circuit is currently considering, en banc, whether equitable tolling excuses an

untimely filing by a petitioner challenging his career-offender classification in light of Simmons,

where the petitioner filed his motion more than one year after the judgment became final but

within one year of Simmons. Whiteside v. United States, 748 F.3d 541, 546-48 (4th Cir. 2014),

rehearing en banc granted by 2014 WL 3377981 (4th Cir. July 10, 2014). Here, even after taking

Whiteside into consideration, Petitioner is not entitled to equitable tolling. As an initial matter,

Petitioner is unable to show that enforcement of the statute of limitations would result in a

miscarriage of justice, where, as demonstrated below, his claim is otherwise waived and

defaulted. Moreover, unlike the petitioner in Whiteside who, in the view of the panel majority,

pursued his rights diligently by filing within a year of Simmons, Petitioner did not file his motion

to vacate until two and a half years after Simmons was decided. Because Petitioner is unable to

demonstrate that his case justifies exercise of this Court’s equitable power to excuse his failure to

comply with the requirements of § 2255(f), his motion will be dismissed as untimely.

       The Court further notes that, even if Petitioner’s claim were not time-barred, Petitioner

explicitly waived his right to challenge his sentence in a post-conviction proceeding in his plea

agreement.4 Such waiver is enforceable as long as the defendant waives this right knowingly and


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  Petitioner’s career offender classification was based on three convictions for possession with
intent to sell or deliver cocaine, a conviction for accessory after the fact to armed robbery, and a
conviction for conspiracy to sell cocaine. The Government contends that, even if the petition
were not time-barred, Petitioner’s conviction for conspiracy to sell cocaine qualifies as a felony
conviction even after Simmons. The Government concedes in its supplemental brief that the
three convictions for possession with intent to sell or deliver cocaine do not qualify as felony
convictions after Simmons, and the Government further concedes that the issue of whether the
conviction for accessory after the fact to armed robbery qualifies as a crime of violence appears
to be unsettled. Cf. United States v. Innie, 7 F.3d 840, 852 (9th Cir. 1993) (holding that a
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voluntarily. See United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005) (“[A] criminal

defendant may waive his right to attack his conviction and sentence collaterally, so long as the

waiver is knowing and voluntary.”). Here, Petitioner does not allege in his motion that his plea

was either unknowing or involuntary, nor could he, as the Rule 11 colloquy establishes that he

pled guilty understanding the charge to which he was pleading guilty as well as the consequences

of his plea, including his waiver of his right to challenge his sentence in a Section 2255 post-

conviction proceeding. Petitioner has not presented either a claim of ineffective assistance of

counsel or a claim of prosecutorial misconduct. Accordingly, neither of the exceptions to his

waiver applies, and, even if not time-barred, his motion would be subject to dismissal.5

       IV.     CONCLUSION

       For the foregoing reasons, the Court dismisses Petitioner’s § 2255 petition as untimely.

To this extent, the Government’s motion to dismiss is granted.



conviction as an accessory after the fact to a crime of violence is not itself a crime of violence),
with United States v. Sullivan, 455 F.3d 248, 253-54 (4th Cir. 2006) (Widener, J., concurring in
part and dissenting in part) (explaining that the defendant “had a number of prior criminal
convictions, including . . . accessory after the fact to robbery, which are . . . crimes of violence
under the definition in USSG § 4B1.2”). The Government correctly notes, however, that
Petitioner has procedurally defaulted any such challenge, which does not depend on Simmons,
by failing to raise it during his initial sentencing or on appeal. Petitioner did not claim that a
conviction as an accessory after the fact does not qualify as a crime of violence at sentencing or
on appeal, nor has he shown, or even alleged, cause justifying his failure to pursue such a claim.
Because the challenge to the accessory-after-the-fact conviction does not depend on Simmons or
Miller, the legal basis for the claim was reasonably available to defendant at the time of his
sentencing. Therefore, based on his failure to pursue the claim, even if it were not untimely and
waived, Petitioner has procedurally defaulted his challenge to this Court’s reliance on his
accessory-after-the-fact-to-armed-robbery conviction as a career-offender predicate.
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   The rationale behind the panel majority’s decision to decline to enforce the post-conviction
waiver in Whiteside does not apply in this case. Whiteside, 748 F.3d at 545-46. In Whiteside,
the panel majority held that the waiver in the petitioner’s plea agreement, which reserved the
right to appeal any career-offender ruling, was ambiguous and, construing the ambiguity against
the Government, declined to enforce the waiver. Id. The ambiguity in Whiteside is not present
in this case, however, because the waiver does not contain a similar qualification.
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  IT IS, THEREFORE, ORDERED that:

  1.    Petitioner’s Motion to Vacate, (Doc. No. 1), is DISMISSED as untimely.

  2.    The Government’s Motion to Dismiss, (Doc. No. 4), is GRANTED.

  3.    IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

        Governing Section 2254 and Section 2255 Cases, this Court declines to issue a

        certificate of appealability. See 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell,

        537 U.S. 322, 338 (2003) (in order to satisfy § 2253(c), a petitioner must

        demonstrate that reasonable jurists would find the district court’s assessment of

        the constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 473,

        484 (2000) (when relief is denied on procedural grounds, a petitioner must

        establish both that the dispositive procedural ruling is debatable and that the

        petition states a debatable claim of the denial of a constitutional right).




                                       Signed: October 31, 2014




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